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       Plaintiffs, the Federal Trade Commission (“FTC” or “the Commission”), by its

designated attorneys, and the State of New York (“New York”), by and through its Attorney

General, petition this Court, pursuant to Section 13(b) of the Federal Trade Commission Act, 15

U.S.C. § 53(b), Section 16 of the Clayton Act, 15 U.S.C § 26, Section 342 of the New York

General Business law, and Section 63(12) of the New York Executive Law for a permanent

injunction and other equitable relief, including equitable monetary relief, against Defendants

Vyera Pharmaceuticals, LLC (“Vyera”), Phoenixus AG (“Phoenixus”), Martin Shkreli, and

Kevin Mulleady to undo and prevent their anticompetitive conduct and unfair methods of

competition in or affecting commerce in violation of Sections 1 and 2 of the Sherman Act, 15

U.S.C. §§ 1, 2, Section 5(a) of the Federal Trade Commission Act, 15 U.S.C. § 45(a), and state

law.

I.     Nature of the Case

       1.       This case challenges a comprehensive scheme by Vyera, its parent company

Phoenixus, and two of the companies’ owners and executives, Shkreli and Mulleady, to block

lower-cost generic competition to Daraprim, an essential drug used to treat the potentially fatal

parasitic infection toxoplasmosis. Their unlawful scheme to maintain a monopoly on Daraprim

continues to this day.

       2.       Daraprim had been sold as an affordable, life-saving treatment for more than

60 years. In 2015, however, Defendants acquired the U.S. rights to Daraprim from the only

existing supplier and immediately raised the price from $17.50 to $750 per tablet—an increase of

more than 4,000%. This massive price hike delivered immediate benefits to Defendants,

increasing Daraprim’s annual revenues from                                   .

       3.       Defendants knew, though, that this revenue boon could be short lived: Daraprim

had no patent or regulatory protection and the massive price increase would attract competition
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from lower-priced generic products. To preserve the Daraprim revenue stream, Vyera and

Phoenixus—under the direction of Shkreli and Mulleady—executed an elaborate, multi-part

scheme to block generic entry.

       4.       First, Defendants created a complex web of contractual restrictions that prohibit

distributors and            from reselling Daraprim to generic companies or their agents.

Defendants understood that restricting access to branded Daraprim could stifle generic

competition. The U.S. Food & Drug Administration (“FDA”) requires any generic applicant to

conduct bioequivalence testing comparing its product to samples of the branded drug. Vyera’s

resale restrictions made it virtually impossible for generic companies to purchase sufficient

quantities of Daraprim to conduct these FDA-required tests. Indeed, several generic companies

tried for more than a year to secure enough branded Daraprim samples for testing, but were

unable to do so. At least one other generic company simply abandoned its development plans.

       5.       Second, Defendants cut off competitors’ access to pyrimethamine—the active

pharmaceutical ingredient (“API”) necessary to manufacture Daraprim.




       6.




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       7.       Third, Defendants signed “data-blocking” agreements with Vyera’s distributors to

prevent them from selling their Daraprim sales data to third-party data reporting companies, such

as IQVIA. These reporting companies purchase, compile, and sell sales data on pharmaceutical

products, which generic companies then buy. These data are critical for generic companies’

assessment of whether a given development opportunity is worth pursuing. Defendants’ data-

blocking agreements prevented the reporting companies from obtaining accurate information

about Daraprim sales. By obscuring these sales, Defendants sought to prevent generic companies

from accurately assessing the market opportunity for a generic Daraprim product and thereby

deter them from even pursuing development of a generic product.

       8.       The purpose and effect of Defendants’ anticompetitive conduct has been to thwart

potential generic competition and protect the Daraprim revenues resulting from Vyera’s

shocking price increase. Absent Defendants’ anticompetitive conduct, Daraprim would have

faced generic competition years ago. Instead, toxoplasmosis patients who need Daraprim to

survive have been denied the opportunity to purchase a lower-cost generic version, forcing them

and other purchasers to pay tens of millions of dollars a year more for this life-saving

medication.

II.    Jurisdiction and Venue

       9.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§ 1331, 1337(a), and 1345, as well as under the principles of supplemental jurisdiction codified

in 28 U.S.C. § 1367(a). This Court’s exercise of supplemental jurisdiction over Plaintiff New

York’s state law claims would avoid unnecessary duplication and multiplicity of actions, and

should be exercised in the interests of judicial economy, convenience, and fairness.
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       10.     This Court has personal jurisdiction over Vyera, Phoenixus, Shkreli, and

Mulleady because each has the requisite constitutional contacts with the United States of

America pursuant to 15 U.S.C. § 53(b). This Court also has personal jurisdiction over Vyera,

Phoenixus, Shkreli, and Mulleady because each has the requisite constitutional contacts with the

state of New York due to their domicile, extent of their business transactions within New York,

contracts to supply goods and services in New York, soliciting business in New York, and/or

committing illegal acts as alleged herein within the state of New York, pursuant to N.Y. CPLR

§§301, 302.

       11.     Venue in this District is proper under Section 13(b) of the FTC Act, 15 U.S.C. §

53(b), 15 U.S.C. § 22, and 15 U.S.C. § 1391(b) and (c). Each Defendant resides, transacts

business, committed an illegal act, or is found in this District.

       12.     Defendants’ general business practices, and the unfair methods of competition

alleged herein, are “in or affecting commerce” within the meaning of Section 5 of the FTC Act,

15 U.S.C. § 45.

       13.     Vyera and Phoenixus are, and at all times relevant herein have been, corporations

as defined in Section 4 of the FTC Act, 15 U.S.C. § 44.

       14.     Martin Shkreli and Kevin Mulleady are “persons” within the meaning of Section

5 of the Federal Trade Commission Act, as amended, 15 U.S.C. § 45.

III.   The Parties

       A.      Plaintiff Federal Trade Commission

       15.     Plaintiff Federal Trade Commission is an independent administrative agency of

the United States government, established, organized, and existing pursuant to the FTC Act, 15

U.S.C. § 41 et seq., with its principal offices in Washington, DC, and a regional office in

Manhattan in New York City, New York. The FTC is vested with authority and responsibility for

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enforcing, inter alia, Section 5 of the FTC Act, 15 U.S.C. § 45, and is authorized under Section

13(b) of the FTC Act, 15 U.S.C. § 53(b), to initiate court proceedings to enjoin violations of any

law the FTC enforces.

        16.     The FTC is authorized to bring this case in federal court because Defendants are

violating or about to violate a provision of law enforced by the Federal Trade Commission, and

this is a proper case for permanent injunctive relief within the meaning of Section 13(b) of the

FTC Act, 15 U.S.C. § 53(b).

        B.      Plaintiff State of New York

        17.     Plaintiff State of New York is a sovereign. Letitia James is the Attorney General

of the State of New York, the chief legal officer for the state, and brings this action on behalf of

the people of the State of New York in connection with the Attorney General’s role to protect the

State of New York and its residents from exploitative, anticompetitive business practices. The

Attorney General is authorized to bring this suit to enjoin Defendants from their illegal,

anticompetitive conduct and seeks appropriate relief on behalf of the state of New York and its

residents harmed by Defendants’ conduct.

        C.      Corporate Defendants

        18.     Phoenixus AG is a privately-held, for-profit Swiss corporation with its principal

place of business located in Baar, Switzerland. Phoenixus was previously known as Turing

Pharmaceuticals AG and Vyera Pharmaceuticals AG. Phoenixus transacts or has transacted

business in this District.

        19.     Phoenixus is engaged in the manufacture and distribution of the pharmaceutical

product Daraprim. Phoenixus acquired the rights to market and distribute Daraprim in the United

States in August 2015.



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          20.   Vyera Pharmaceuticals, LLC, is a privately-held, for-profit limited liability

corporation that is wholly owned by Phoenixus AG. Vyera is incorporated in Delaware with its

principal place of business located in New York City, New York. Vyera was previously named

Turing Pharmaceuticals, LLC. Vyera transacts business in this District and throughout the United

States.

          21.   Vyera is registered with the FDA as the owner of the Daraprim New Drug

Application (No. 008578).



          22.   Defendants Phoenixus and Vyera have operated and continue to operate as a

common enterprise while engaging in the unfair methods of competition alleged below.




                                                                           The current CEO of

Phoenixus, Averill Powers, is also Vyera’s top executive and general counsel and works out of

Vyera’s New York office.



          23.

          24.   Unless otherwise specified, this Complaint refers to Vyera and Phoenixus

collectively as “Vyera” when discussing their joint conduct relating to Daraprim.




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        D.      Individual Defendants

                1. Martin Shkreli

        25.     Martin Shkreli is the founder of Phoenixus and Vyera, the largest shareholder and

former chairman of the board of Phoenixus, and the former CEO of Vyera. At all times material

to this Complaint, acting alone or in concert with others, Shkreli has formulated, directed,

controlled, had the authority to control, or participated in the acts and practices set forth in this

Complaint. Shkreli resided in this District until his federal incarceration for securities fraud in

2017. In connection with the conduct alleged herein, he transacts or has transacted business in

this District and throughout the United States.

        26.     Prior to founding Vyera, from 2006 to 2011, Shkreli founded and ran three hedge

funds, all of which failed.

        27.     In 2011, Shkreli abandoned hedge funds for pharmaceuticals. He founded the

pharmaceutical company Retrophin, Inc., despite having no pharmaceutical business experience.

        28.     During his brief tenure at Retrophin, Shkreli acquired Thiola, a sole-source drug

for a small but dependent patient population, placed it into a restricted distribution system, and

significantly increased the price. He stated at the time that he intended to use distribution

restrictions to prevent generic competition to Thiola.

        29.     Shkreli was ousted from Retrophin in 2014 by the board of directors for

misconduct relating to improper grants and trades of company stock.

        30.     Upon leaving Retrophin, Shkreli started Vyera to look for similar products with

which to replicate his Retrophin strategy.

        31.     As founder and CEO of Vyera, Shkreli directed the minute details of Vyera’s

business and strategy, including the decision to acquire Daraprim, securing a source for the

drug’s API, and implementing a restricted distribution system.

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       32.     Shkreli remained CEO until his arrest in December 2015 for securities fraud

stemming from conduct at his hedge funds and at Retrophin. He was subsequently convicted of

several felonies, including securities fraud and conspiracy to commit securities fraud, and

sentenced to seven years in federal prison. Shkreli remained free on bail until September 2017,

when his bail was revoked for making threats against Hillary Clinton.

       33.     With the exception of a brief period in the first half of 2017, Shkreli has

maintained his influence over Phoenixus and Vyera through associates as well as his position as

Phoenixus’s largest shareholder. Shkreli’s longtime ally Ron Tilles served as interim CEO from

Shkreli’s departure in December 2015 until April 2017. Tilles co-founded Retrophin with Shkreli

and was a founding board member of Phoenixus. As detailed in a report by the U.S. Senate

Special Committee on Aging, Tilles was Shkreli’s “handpicked successor”—“a broker by

training whose main skillset was soliciting investors and who, by his own admission, did not

know the most basic of pharmaceutical concepts.”

       34.     In April 2017, Mr. Tilles was briefly replaced by Dr. Eliseo Salinas. When

Dr. Salinas proved resistant to Shkreli’s influence, however, Shkreli waged a successful proxy

fight to oust Dr. Salinas and the Phoenixus board.

       35.     In June 2017, Shkreli’s close associates, including Mulleady and Akeel Mithani,

were elected to Phoenixus’s board of directors.




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       36.      Mithani is Shkreli’s protégé. Mithani obtained his undergraduate degree in 2014

and soon began communicating with Shkreli through Twitter. In 2015, Shkreli invited him to

apply for a job at Vyera as a junior business development analyst, which Mithani did not get

because (in his own words) he “sorely lacked the qualifications.” In June 2017, however, Shkreli

secured Mithani’s election to the Phoenixus board.




       37.




       38.      Since his incarceration in September 2017, Shkreli has remained in regular

contact with Mulleady and Mithani through phone calls, emails, in-person visits,

             and potentially other means. From June to December 2019 alone, Shkreli exchanged

240 emails with Mulleady and 391 emails with Mithani. In these communications, Shkreli

continues to discuss strategies to prevent generic competition to Daraprim, as well as other

matters of Vyera business strategy.

       39.      In March 2019, a Wall Street Journal article reported that Shkreli “remains the

shadow power at Phoenixus AG” and that he was using a contraband cell phone to run Vyera




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from prison.



       40.



               2. Kevin Mulleady

       41.     Kevin Mulleady is the current chairman of the Phoenixus board of directors and

former CEO of Vyera. At all times material to this Complaint

                                          , acting alone or in concert with others, he has

formulated, directed, controlled, had the authority to control, or participated in the acts and

practices set forth in this Complaint. Mulleady resides in this District and, in connection with the

matters alleged herein, he transacts or has transacted business in this District.

       42.     Before joining Vyera, Mulleady had little pharmaceutical experience.

       43.     Following his graduation from college in 2005, Mulleady held entry-level

positions in wealth management and also worked as a real estate broker.

       44.     In 2011, Mulleady took a position finding investors for Shkreli’s failing hedge

funds. (He was an unindicted co-conspirator in the criminal securities fraud case against Shkreli.)



       45.




       46.




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       47.

IV.    Background

       A.      Federal Law Encourages Generic Competition

       48.     The Federal Food, Drug, and Cosmetic Act, 21 U.S.C. § 301 et seq., as amended

by the Drug Price Competition and Patent Term Restoration Act of 1984 (the “Hatch-Waxman

Act”) and the Medicare Prescription Drug, Improvement, and Modernization Act of 2003, 21

U.S.C. §§ 355(b)(2) and 355(j) and 35 U.S.C. § 271(e), establishes procedures designed to

facilitate competition from lower-priced generic drugs.

       49.     A company seeking to market a new pharmaceutical product in the United States

must file a New Drug Application (“NDA”) with the FDA demonstrating the safety and efficacy

of the new product. These NDA-based products generally are referred to as “brand-name drugs”

or “branded drugs.”

       50.     A company seeking to market a generic version of a branded drug may file an

Abbreviated New Drug Application (“ANDA”) with the FDA, referencing the branded drug’s

NDA. The generic applicant must demonstrate that its generic drug is therapeutically equivalent

to the brand-name drug that it references, meaning that the generic drug is the same as the brand-

name drug in dosage form, safety, strength, route of administration, quality, performance

characteristics, and intended use. If the FDA determines that the generic drug is therapeutically

equivalent to the already-approved branded drug, it will assign the generic drug an “AB” rating

and will allow the generic company to rely on the studies submitted in connection with the



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already-approved branded drug’s NDA to establish that the generic drug is safe and effective. 21

U.S.C. § 355(j)(2)(A)(iv).

        51.     To establish that the generic drug is therapeutically equivalent to the branded

drug, the ANDA applicant must demonstrate bioequivalence, meaning that there is no significant

difference in the rate and extent to which the active ingredient becomes available in the body. To

make this showing, the applicant must acquire substantial quantities of the referenced branded

drug and conduct bioequivalence testing comparing its generic version against that branded drug.

        52.     The ANDA applicant must conduct both in vivo and in vitro bioequivalence

testing. In the in vivo testing, the same small group of human subjects (a minimum of 12, but

often 20 to 30 people) sequentially takes the two products and the pharmacokinetic performance

of the drug is measured through bloodwork. The in vitro dissolution testing compares the rate

and extent to which the branded and generic drugs form a solution from their original dosage

form (e.g., tablet or capsule).

        53.     The ANDA applicant must also reserve enough branded drug samples to perform

each of the required tests five times.

        54.     Depending on the product, a generic manufacturer may need as many as 1,000 to

5,000 doses of the branded drug to conduct bioequivalence testing, all of which must be from the

same manufacturing lot to assure uniform character and quality.

        55.     Normally, the ANDA applicant can obtain sufficient samples of the branded drug

by purchasing them through normal distribution channels, such as drug wholesalers.

        56.     An ANDA applicant must also secure an acceptable, steady supply of the drug’s

API, which is the ingredient that provides the drug’s pharmacological activity. Pharmaceutical

companies typically purchase API from third-party suppliers. In order for an API to be used in a



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pharmaceutical product, the FDA must approve the API product, the API manufacturing process,

and the API manufacturer’s quality controls, facility, and compliance with good manufacturing

practices. An ANDA must therefore contain extensive information about the API and its

manufacturer, including a complete description of the manufacturing process and process

controls, the control of materials used in the manufacture of the drug substance, controls of

critical steps and intermediates, process validation, and the manufacturing process development.

In addition to reviewing this information in detail, the FDA will typically audit the API

manufacturer and its facility.

       57.     If a generic cannot find an API supplier with an existing process that can meet the

FDA’s standards, it will typically need to work with a new supplier to develop a manufacturing

process for the API, which can take months or years.

       58.     A supplier that has already developed a process to produce an API can separately

submit a drug master file (“DMF”) to the FDA containing this required information. In that case,

an applicant using that supplier can reference the DMF in its ANDA rather than developing and

submitting the information anew. The generic applicant’s path to FDA approval is easier and

faster if the FDA has already inspected the API supplier’s facility and approved the

manufacturing process. Even if the FDA still needs to inspect the API supplier, the DMF

indicates that the manufacturer has an existing, FDA-approvable process to manufacture the API,

which can shorten the ANDA development timeline.

       B.      Competition from Lower-Priced Generic Drugs Saves American Consumers
               Billions of Dollars Each Year

       59.     Generic drugs are uniquely close competitors to their branded counterparts and

are a critical part of lowering prescription drug prices in the United States.




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       60.     All 50 states and the District of Columbia have drug substitution laws that

encourage and facilitate substitution of lower-cost AB-rated generic drugs for branded drugs.

When a pharmacist fills a prescription written for a branded drug, these laws allow or require the

pharmacist to dispense an AB-rated generic version of the drug instead of the more expensive

branded drug, unless a physician directs or the patient requests otherwise. Conversely, these laws

generally do not permit a pharmacist to substitute a non-AB-rated generic for a branded drug

unless the physician specifically prescribes it by writing on the prescription the chemical name of

the drug, rather than the brand name.

       61.     The Hatch-Waxman Act and state substitution laws have succeeded in facilitating

generic competition and generating large savings for patients, healthcare plans, and federal and

state governments. The first generic competitor’s product is typically offered at a 20% to 30%

discount to the branded product. Subsequent generic entry creates greater price competition, with

discounts reaching 85% or more off the brand price. According to a 2010 Congressional Budget

Office report, the retail price of a generic is 75% lower, on average, than the retail price of a

brand-name drug. In 2018 alone, the Association of Accessible Medicines reported that use of

generic versions of brand-name drugs saved the U.S. healthcare system $293 billion.

       62.     Because of these cost savings, many third-party payers of prescription drugs (e.g.,

health insurance plans and Medicaid programs) have adopted policies to encourage the

substitution of AB-rated generic drugs for their branded counterparts. As a result of these

policies and lower prices, many consumers routinely switch from a branded drug to an AB-rated

generic drug upon its introduction. Consequently, AB-rated generic drugs typically capture over

80% of a branded drug’s unit and dollar sales within six months of market entry.




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       C.      Daraprim Is the Gold-Standard Treatment for Toxoplasmosis

       63.     Toxoplasmosis is a common parasitic infection typically transmitted through

undercooked meat and infected cat feces. In most humans, toxoplasmosis is easily contained by

their immune systems and causes no symptoms.

       64.     But in immunocompromised individuals—such as those with HIV/AIDS, cancer

patients, or recipients of organ transplants—the infection can morph into a potentially fatal organ

infection, most commonly in the brain, lungs, or heart. The parasite can also infect the eyes

(ocular toxoplasmosis).

       65.     An expectant mother can also pass the toxoplasma gondii parasite in utero,

causing congenital toxoplasmosis, which left untreated can lead to blindness, severe intellectual

disabilities, and other neurological problems.

       66.     In the United States, the number of toxoplasmosis cases requiring treatment each

year is small (less than 7,000 per year from 2003-2012) and declining as treatment of HIV/AIDS

improves.

       67.     The gold-standard treatment for toxoplasmosis is pyrimethamine. All U.S.

government health authority guidelines identify pyrimethamine as the preferred treatment for the

infection. The Centers for Disease Control and Prevention advise that pyrimethamine is the

“most effective drug against toxoplasmosis.” The National Institute of Health calls

pyrimethamine the “initial therapy of choice,” and it advises other options only if pyrimethamine

is “unavailable or there is a delay in obtaining it.”

       68.     Pyrimethamine is on the World Health Organization’s Model List of Essential

Medicines, which identifies the minimum medicines needed for a basic healthcare system.




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          69.    Daraprim (NDA No. 08578) is the only FDA-approved pyrimethamine product

(branded or generic) on the market in the United States and the only drug approved by the FDA

for the treatment of toxoplasmosis.

          70.    Daraprim was first approved by the FDA in 1953. It long ago lost any patent

protection or regulatory exclusivity.

          71.    Daraprim is available only as a 25-milligram tablet. Generally, a toxoplasmosis

infection is diagnosed in an acute hospital setting, and the patient typically remains hospitalized

for two to three weeks. During this stage, the starting dosage for adults is 50 to 75 milligrams of

Daraprim per day.

          72.    Following discharge, patients typically continue on about half that amount for

four to five additional weeks, though some patients must remain on pyrimethamine for months or

years to prevent recurrence.

          D.     Vyera’s Acquisition of Daraprim

                 1. Prior ownership of Daraprim

          73.    GlaxoSmithKline plc and its predecessor entities owned the worldwide rights to

Daraprim from its approval in 1953 until 2010.

          74.    By 2010, GSK charged around $1 per Daraprim tablet and had relatively low

revenues of less than $1 million per year in the United States due to the low incidence of

toxoplasmosis.

          75.    GSK still sells Daraprim in the United Kingdom, where it charges less than $1 per

tablet.

          76.    In 2010, GSK sold its U.S. and Canadian Daraprim rights to CorePharma LLC,




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       77.     Between 2010 and 2015, CorePharma and Amedra gradually increased the price

of Daraprim to $13.50 per tablet.



       78.     In March 2015, Impax Laboratories, Inc. acquired Daraprim as part of a $700

million acquisition of Amedra’s parent company, Tower Holdings, Inc..



       79.     In June 2015, Impax increased the price of Daraprim by 30%, from $13.50 to

$17.50 per tablet.




               2. Vyera’s acquisition of Daraprim

       80.




       81.




       82.     On August 7, 2015, Vyera acquired the U.S. rights to Daraprim for the final

negotiated price of $55 million—




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       83.     Vyera had a plan to turn Impax’s $5 million-per-year drug into a $500 million-

per-year drug. The plan started with a shocking price increase: the day after finalizing the deal in

August 2015, Vyera raised the price from $17.50 to $750 per tablet, an increase of more than

4,000%.

       84.

                                                He was very wrong. Vyera swiftly faced outcries

from health care providers, patients, medical societies, the general public, and Congress.

       85.




       86.     In September 2015, the HIV Medicine Association (“HIVMA”) of the Infectious

Diseases Society of America publicly urged Vyera “to immediately revise the pricing strategy

for” Daraprim. HIVMA deemed the estimated annual cost of pyrimethamine treatment for

toxoplasmosis ($336,000-$634,500 depending on the patient’s weight) “unjustifiable for the

medically vulnerable patient population in need of this medication and unsustainable for the

health care system.”

V.     Defendants’ Anticompetitive Agreements to Maintain Vyera’s Daraprim Monopoly

       87.     Vyera knew that the dramatic price increase on its own would not secure long-

term revenues because, with no patent or regulatory protection, Daraprim would be vulnerable to

generic entry. Thus, to protect its Daraprim revenues, Vyera launched an elaborate scheme to

prevent generic competition: it entered agreements prohibiting distributors and              from

reselling Daraprim to potential generic competitors or their agents;



and entered data-blocking agreements to prevent distributors from selling their Daraprim sales
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data, thus masking the true size of the Daraprim market to deter generic competitors. Defendants

Shkreli and Mulleady implemented, oversaw, and participated in this scheme.

       A.      Defendants Implement Agreements Restricting Resale and Limiting
               Purchases to Block Generic Entry

       88.     Before 2015, Daraprim was distributed openly for more than 60 years without any

restrictions. Generic companies were able to purchase Daraprim from a local pharmacy without

entering into any written contract or obtaining any type of approval.

       89.

                     One of Vyera’s co-founders testified that “closed distribution can increase a

product life cycle by preventing generics from potentially getting your referenced product,”

which they need for FDA-required bioequivalence testing. Vyera’s former general counsel

further testified that the use of a closed distribution system was “considered an integral part of

the company’s desire to block a generic entrant for at least three years.”

       90.     Defendant Shkreli had experience using resale restrictions to block generic

competition. In 2014, Shkreli’s first pharmaceutical company, Retrophin, acquired the rights to

Thiola, a drug used to treat the rare disease cystinuria. At Shkreli’s direction, Retrophin raised

the price of Thiola by 2,000% and put it into a restricted distribution system.

       91.     At that time, Shkreli told Retrophin investors that “[t]he closed distribution

system . . . allows for us to control the release of our product. We do not sell Retrophin products

to generic companies.” As Shkreli explained, blocking generic access to drug samples in this

way “takes the AB substitutable rating that generics rely on and neuters it.”

       92.




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       93.      Upon acquiring Daraprim, Vyera acted to implement Shkreli’s blueprint.




                                                                       The resulting web of

contractual restrictions prevents generic companies from purchasing Daraprim at any point in the

distribution chain, denying them the ability to conduct the bioequivalence testing necessary for

FDA approval.

                1. Vyera’s contractual restrictions prevent distributors from selling
                   Daraprim to generic companies

       94.      Vyera’s generic-blocking agreements start with its distributors.



                                                      Each Vyera distributor can sell Daraprim

only to specifically identified customers or customer types. Any other purchase request requires

Vyera’s direct approval. As Vyera’s director of patient access explained, “[i]f someone else calls

and asks for 50 bottles of Daraprim, they would have to come to me for approval.”

       95.      None of Vyera’s distributors is allowed to sell Daraprim to generic companies.

Nor does Vyera approve such sales. If a distributor receives a purchase request from an entity

that might be a generic company or might sell to one, Vyera will “block that purchase” to “avoid

generic competition.”

       96.      At the top of its distribution system, Vyera uses ICS (formerly Smith Medical

Partners) as a third-party logistics provider.


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                                                                           ICS is compensated

through a fixed monthly fee, as well as additional fees for each order it ships.

       97.     Under its agreement with Vyera, ICS can only ship Daraprim to four specifically

approved distributors: ASD Healthcare, Cardinal Health, BioRidge Pharma, LLC, and Optime

Care Inc. Generic companies are not approved purchasers, and ICS cannot sell Daraprim to them

without Vyera’s approval.

       98.



       99.     First, Vyera has an agreement with ASD Healthcare to distribute Daraprim to

hospital and government purchasers. Vyera compensates ASD by paying it             of Daraprim’s

wholesale acquisition cost (“WAC,” i.e. the list price) for each sale it makes.

       100.

                                                               Vyera and ASD later amended their

written contract to enumerate “authorized customers” and to specifically require that Vyera

“approve any new authorized customers via email.” Generic companies are not and have never

been authorized customers under the ASD agreement.



Consequently, ASD cannot sell Daraprim to generic companies without Vyera’s approval.

       101.




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       102.

        Consequently,            cannot sell Daraprim to generic companies without Vyera’s

approval.

       103.




       104.

Consequently,           cannot sell Daraprim to generic companies without Vyera’s approval.

       105.




       106.

        Consequently,          cannot sell Daraprim to generic companies without Vyera’s

approval.

       107.




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108.




109.



110.




111.




112.




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113.




114.




115.




116.




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               3. Vyera limits and monitors approved sales of Daraprim to prevent generic
                  companies from obtaining it

       117.    In addition to its agreements with distributors and            not to sell Daraprim

to generic companies, Defendants took further steps to ensure generic companies could not

purchase the Daraprim they needed to conduct FDA-required bioequivalence testing.

       118.    A bottle of Daraprim contains 100 tablets.                         in order to meet

FDA requirements for bioequivalence testing, any potential generic competitor would need at

minimum 500 to 1,000 tablets, or five to 10 bottles of Daraprim—and likely would need more.

       119.    Vyera thus limited the amount of Daraprim that any one approved entity could

purchase.




                                Thus, even if a generic company broke through Vyera’s web of

resale restrictions, it could not obtain enough Daraprim to conduct bioequivalence testing.

       120.    For example, in August 2015, Vyera and ICS (then a Daraprim distributor) agreed

that ICS would not sell more than five bottles to a single customer without Vyera’s express

approval. The purpose of the ICS restriction was to “ensure that the account is legit and not a

generics manufacturer.”

       121.




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       122.




       123.    In August 2019, Shkreli had separate discussions with Mulleady and Mithani

about limiting all sales of Daraprim to one bottle at a time in order to prevent a generic

competitor from obtaining sufficient Daraprim samples to conduct bioequivalence testing.

Shkreli urged Mulleady to “really carefully screen every doctor” and ensure that no one could

“sell more than one bottle at a time” to prevent a generic company from “get[ting its] hands on

anything.” Shkreli instructed Mithani that Vyera should “do everything” it could to prevent a

generic company from obtaining samples of Daraprim, because preventing generic competition

would make Daraprim a “$600 million asset . . . in perpetuity.”

       124.




       125.




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         126.




         127.




                4. Defendants’ generic-blocking restrictions prevent generic competitors
                   from purchasing Daraprim and have no legitimate rationale

         128.   Taken together, the purpose and effect of Vyera’s resale restrictions, quantity

limits                  is to prevent potential generic competitors from obtaining sufficient

samples of Daraprim to conduct FDA-mandated bioequivalence testing.

         129.

                                                      Nor can generic companies purchase

Daraprim directly from Vyera, which refuses to sell the product to generic companies or

companies that might resell to generic companies. And Vyera’s quantity limits and

ensure that, even if a generic company slips through the restrictions and purchases some

Daraprim, it will not likely obtain enough to conduct bioequivalence testing.

         130.   Generic companies cannot circumvent Vyera’s web of restrictions by obtaining a

Daraprim prescription from a doctor. Doctors are allowed to write prescriptions for the treatment

of a patient; a doctor cannot write a prescription for medication to be used in bioequivalence

testing, which does not involve treatment of a patient. Moreover, even if a generic company

could obtain a prescription and use that prescription to purchase Daraprim from a distributor or


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purchaser, Vyera’s quantity limits would prevent filling a single prescription for the minimum

five bottles needed for bioequivalence testing. And even assuming the generic company were

able to acquire Daraprim from a pharmacy with a prescription, it would have no way of ensuring

that all the bottles came from the same manufacturing lot, as required by the FDA.

       131.    The purpose of Defendants’ extensive resale restrictions and quantity limits is to

prevent generic companies from obtaining the Daraprim necessary to meet the FDA’s

bioequivalence testing requirements and thereby impede them from launching generic Daraprim

products.

       132.    This purpose was publicly reported and widely known. In September 2015, the

New York Times reported that “Daraprim’s distribution is now tightly controlled, making it

harder for generic companies to get the samples they need for the required testing” and that this

could prevent generic competition. The Times further reported that Defendant Shkreli had

previously used a similar strategy “as a way to thwart generics.”

       133.    In November 2015, the Senate Special Committee on Aging launched a bipartisan

investigation into dramatic price increases on several off-patent drugs, including Daraprim. The

Committee concluded that Vyera “put [Daraprim] in a closed distribution system to keep

potential generic competitors from getting access to the drug to conduct required bioequivalence

tests for developing generic alternatives.” The Committee elaborated that “[r]estricted

distribution in this case was a deliberate part of [Vyera’s] plan to defend its shocking price

increase and subsequent increased revenue against potential competition.”

       134.    As part of the Senate investigation, multiple Vyera executives testified that the

purpose of the distribution restrictions was to prevent competition from generic companies by

denying them access to the samples they needed for bioequivalence testing.



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       135.    The restrictions preventing distributors                from selling Daraprim to

generic companies do not have any legitimate business rationale.

       136.    The resale restrictions are not related to any safety concerns about Daraprim.

Prior to 2015, Daraprim was sold in open distribution without incident for more than 60 years.

Additionally, the FDA has never subjected Daraprim to any type of safety program. When drugs

pose serious safety concerns, the FDA requires sellers to implement Risk Evaluation Mitigation

Strategies (REMS) to minimize those risks. A REMS requirement can include warning labels,

educational guides, and restrictions on distribution. The FDA has never required that Daraprim

be subject to any form of REMS. Moreover, safety concerns are not, and have never been, the

reason for the restricted distribution of Daraprim.

       137.    The resale restrictions are also not related to providing patient services as part of

the distribution system. Blocking the sale of Daraprim to generic companies does not provide or

support any services to Daraprim patients. Additionally, providing patient services is not and has

never been the purpose of the restricted distribution system.



                                                                And the distribution restrictions

have in fact made it harder for patients to obtain Daraprim, leading to adverse medical outcomes.

       B.      Defendants                                                                 to Block
               Generic Companies’ Access to Pyrimethamine API Supply

       138.    In addition to denying potential generic competitors access to the Daraprim

samples they need to conduct FDA-required testing, Vyera (under the supervision and direction

of Defendants Shkreli and Mulleady) further impeded generic competition by

                              pyrimethamine, the active pharmaceutical ingredient used in

Daraprim.


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       139.    To develop and commercially market a generic version of Daraprim, a potential

generic competitor would need to secure a reliable source of pyrimethamine API.

       140.    It is well known in the industry that it is significantly faster and less expensive to

source API from a supplier that has a pre-existing manufacturing process that is either approved

by the FDA or a good candidate for FDA approval. Different APIs require different equipment

and methods to manufacture. It can take months or years, as well as an investment of hundreds of

thousands of dollars or more, for a manufacturer without a pre-existing process to develop one.

Moreover, the FDA must approve any API manufacturer’s facilities, process, and product before

the API can be used in a U.S. product. Retaining an API manufacturer with an unapproved

process entails the risk that the FDA will not approve it or will require the manufacturer to invest

additional time and expense correcting deficiencies. Thus, even if a manufacturer has a pre-

existing process, it will not readily be able to supply API for a U.S. product if its process,

facility, or manufacturing practices are not up to FDA standards.

       141.    One method commonly used in the industry to identify API manufacturers with an

established, FDA-approvable manufacturing process is to search for DMFs. A DMF is a

submission from an API manufacturer to the FDA providing detailed information about the

manufacturer’s facility and process for a given API. The filing of a DMF indicates that the

manufacturer has already developed a manufacturing process for that API that it believes meets

FDA standards, and thus that it could serve as a reliable source.




       142.




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       143.    In the summer of 2015, prior to acquiring Daraprim, Vyera contacted

pyrimethamine suppliers from the FDA’s DMF database. At that time, two API suppliers had

filed DMFs with the FDA: Fukuzyu and Ipca Laboratories Ltd. On or about June 1, 2015, Vyera

contacted               Fukuzyu seeking to enter into exclusive supply agreements for

pyrimethamine API that would prevent generic companies from purchasing pyrimethamine



       144.

                                  Several months earlier, in January 2015, the FDA had banned

imports of most of Ipca’s APIs, including pyrimethamine, due to manufacturing deficiencies.

Vyera quickly understood that this import ban would generate the same effect as exclusivity. In a

June 15, 2015 presentation to potential investors, Vyera touted how this import ban would cause

“significant disruption” and delay to generic companies planning or desiring to use Ipca.

       145.    This left Fukuzyu as the only established manufacturer of pyrimethamine API for

the U.S. market.




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       146.     Vyera’s initial attempts to reach an exclusivity agreement with Fukuzyu were

rejected.




       147.




       148.




       149.




       150.




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Indeed, at least two potential generic competitors sought and were denied



       151.




       152.



       153.



       154.




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161.



162.




163.




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164.




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166.




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       167.

                                                                                            This

has made it significantly more difficult for potential generic competitors to obtain pyrimethamine

API. Although other manufacturers might eventually be able to supply pyrimethamine for the

U.S. market, during the relevant time period these manufacturers did not have an established

pyrimethamine manufacturing process, did not have facilities and processes in line with cGMP

standards sufficient for FDA approval, or both.

       168.      Typically, it takes months or years for a supplier to develop and test an API

manufacturing process from scratch.




       169.      For those manufacturers with a non-compliant FDA process, it would take

substantial time and investment to bring their facilities, quality controls, and manufacturing

standards in line with cGMP requirements to be eligible for FDA approval. Therefore,

              resulted in significant cost and delay for any potential generic applicant.

       C.        Vyera Enters Data-Blocking Agreements to Mask the True Size of the
                 Pyrimethamine Market

       170.      Vyera also entered into data-blocking agreements with its primary distributors to

mask the potential market opportunity for a generic Daraprim product.

       171.      One of the first steps for a generic company considering whether to develop a

competing generic product is to analyze the branded product’s sales data to determine the size of

the market opportunity. Based on the market size and sales data, the company can determine the

potential profits it can expect from developing the product.




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       172.    To make this assessment, generic companies rely on commercially available sales

information. These data are sold by companies such as IQVIA and Wolters Kluwer. These

companies purchase sales data from drug distributors and pharmacies, aggregate the data, and

sell it to pharmaceutical industry participants.

       173.



       174.    Vyera is a privately-held company and does not publicly report Daraprim sales

figures. Thus, the only way for a potential generic competitor to assess the size of the Daraprim

market is to purchase commercial sales data from a third-party data reporting company.

       175.    After acquiring Daraprim, Vyera sought to prevent its distributors from selling

Daraprim sales information to IQVIA or other data reporting companies.

       176.




       177.    Under Vyera’s agreements with its distributors, Vyera paid them a “data blocking

fee” in exchange for their agreement not to sell data to IQVIA or other similar companies.

       178.    In 2017, Vyera agreed to pay ASD a “data restriction” fee of          per month in

exchange for ASD’s agreement not to sell Daraprim sales data to IQVIA, Wolters Kluwer, or

other third-party data reporting companies.

       179.




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       180.



       181.




       182.    The purpose and effect of Vyera’s data-blocking restrictions was to obscure the

size of the Daraprim market to make it less attractive to generic competitors.




       183.    Vyera’s conduct had the desired anticompetitive effect. As result of Vyera’s data-

blocking restrictions, at least one generic company decided not to initiate a project to develop a

generic version of Daraprim.

       184.    The data-blocking restrictions imposed on two of Vyera’s most important

distributors have no legitimate rationale. While Vyera has no obligation to publicly report its

own Daraprim sales data, the wholesalers’ Daraprim sales data is not Vyera’s to control. Prior to

the more lucrative offer from Defendants, ASD and              were regularly selling their

Daraprim sales data to IQVIA and others. The sole purpose of the data-blocking agreements is to

mask the size of the Daraprim market.




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VI.    Defendants’ Anticompetitive Conduct Successfully Delayed and Excluded
       Numerous Potential Generic Competitors

       185.    Defendants’ anticompetitive course of conduct worked. As the result of Vyera’s

agreements restricting the resale of Daraprim,                         , and data-blocking

agreements, at least four potential generic competitors have been delayed or excluded from the

market:                                                                              , and




       186.    Defendants’ exclusionary conduct impeded               ability to develop a

generic version of Daraprim. Absent Vyera’s conduct,            likely would be on the market

today with a generic version of Daraprim.

       187.




       188.



       189.

                        At that time, Amedra Pharmaceuticals owned Daraprim and the drug was

available through traditional distribution channels.

       190.



       191.




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       192.




       193.




       194.    In January 2015, however, the FDA banned Ipca from importing API into the

United States until it remedied certain issues with its manufacturing facility in India.



       195.




       196.




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       197.




                                                     This indicated it likely had an FDA-

approvable process for manufacturing pyrimethamine API.

       198.




       199.

       200.




       201.    This time, however, Vyera’s agreements prohibiting resale to generic companies

made it virtually impossible to obtain sufficient quantities of Daraprim.



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        208.




        209.




        210.    Absent Defendants’ anticompetitive conduct,            likely would have

launched its product in 2018 or earlier.

        211.




                                            which are still subject to Vyera’s tightly controlled

resale restrictions.




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       212.    Defendants’ exclusionary conduct also impeded             ability to develop a

generic version of Daraprim. Absent Defendants’ conduct,           likely would be on the

market today with a generic version of Daraprim.

       213.




       214.



       215.

                        At that time, Amedra Pharmaceuticals owned Daraprim and the drug was

available through traditional distribution channels.

       216.



       217.




       218.




       219.



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225.




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       226.




       227.




       228.




       229.    Absent Defendants’ anticompetitive conduct,            likely would have

launched its product in 2019 or earlier.



       230.    Defendants’ exclusionary conduct also impeded         ability to develop a

generic version of Daraprim. Absent Defendants’ conduct,       likely would be on the market

today with a generic version of Daraprim.

       231.



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247.




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       248.



       249.



       250.




       251.



       252.    Absent Defendants’ anticompetitive conduct,         likely would have launched its

product in 2018 or earlier.



       253.    Defendants’ exclusionary conduct caused           to stop pursuing a generic

version of Daraprim.          is one of the largest generic pharmaceutical companies in the world.

       254.




       255.




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       256.




       257.




               5. Other generic companies

       258.    Vyera’s exclusionary conduct has also likely impeded the ability of at least one

other generic company to obtain Daraprim samples. Although the name of this generic company

is not yet known, it tried to procure samples through



       259.




       260.



       261.




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       262.




       263.




VII.   Defendants’ Foreclosure of Generic Entry Caused Consumers to Pay Higher Prices

       264.     Defendants’ anticompetitive course of conduct delayed generic Daraprim entry.

Absent Defendants’ conduct, at least one generic version of Daraprim would have entered the

market in 2018 or earlier, and multiple generic versions would likely be on the market today.

       265.     Vyera’s agreements prohibiting the resale of Daraprim impeded potential generic

competitors, including           ,    , and          , from procuring sufficient Daraprim samples

to meet FDA testing requirements. Absent these restrictions, potential generic competitors

readily could have purchased sufficient quantities of Daraprim through ordinary distribution

channels.

       266.     Vyera’s

                                       —impeded potential generic competitors, including

            ,   , and          , from securing a reliable source of pyrimethamine API, an

indispensable ingredient of generic Daraprim.




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       267.    Vyera’s data-blocking agreements denied potential generic competitors accurate

and reliable information to properly assess the generic market opportunity, thereby deterring

potential generic competitors from pursuing a generic Daraprim product. Absent these

agreements, which distorted Daraprim’s reported sales revenues,          and other

pharmaceutical companies

due to Vyera’s 4,000% price increase, and thus offered a lucrative competitive opportunity.

       268.    By impeding generic competition, Defendants’ anticompetitive conduct denied

consumers and other purchasers of Daraprim access to AB-rated generic versions of Daraprim

that would offer the same therapeutic benefit as branded Daraprim, but at a fraction of the price.

       269.    The first generic competitor’s product is typically offered at a 20% to 30%

discount to the branded product. Subsequent generic entry creates greater price competition with

discounts potentially reaching 85% or more off the brand price. Defendants’ anticompetitive

conduct has delayed the introduction of this price competition to the detriment of consumers and

other purchasers of Daraprim.

       270.    Most consumers would have purchased the lower-priced AB-rated substitutes for

Daraprim rather than the higher-priced branded product.




       271.    Defendants’ anticompetitive conduct, however, has forced consumers to continue

paying Vyera’s monopoly price for Daraprim. As a result of Defendants’ conduct, there is no

lower-cost generic alternative to Daraprim on the market today.



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       272.     Defendants’ anticompetitive conduct has caused, and is continuing to cause,

significant economic harm. Consumers and other purchasers of Daraprim likely would have

saved tens of millions of dollars by purchasing generic versions of Daraprim.

       273.     The economic harm from Defendants’ conduct is ongoing as generic entry has not

yet occurred.

       274.     Defendants’ anticompetitive conduct, and the corresponding reduction in the

availability of Daraprim, has also resulted in harm to patients from delays in treatment,

prolonged hospital stays, and poor medical outcomes. And in at least one case, Defendants’

anticompetitive conduct may have contributed to a patient’s death.

       275.     Toxoplasmosis is a rare condition. Many hospitals treat few or no toxoplasmosis

patients each year. Nonetheless, for decades, hospitals regularly stocked Daraprim because it was

affordable and because patients with acute toxoplasmosis need to begin taking it immediately.

Vyera’s massive price increase—maintained through Defendants’ anticompetitive scheme—has

changed this approach. Daraprim is no longer affordable. Hospitals are now reluctant to incur the

substantial cost of keeping Daraprim stocked in their inpatient pharmacies when it may never be

used to treat a patient. This can lead to delays in treatment when patients present at the hospital

with acute toxoplasmosis. Defendants’ anticompetitive conduct has denied these hospitals the

option of stocking lower-cost generic versions of Daraprim.

       276.     Similarly, the extremely high price of Daraprim creates challenges in discharging

patients from the hospital. Physicians often delay hospital discharge of their toxoplasmosis

patients until they are confident the patient will be able to obtain Daraprim after discharge.

Because of the high price and limited availability of Daraprim, however, many rehabilitation

facilities will no longer accept patients who need it. These patients instead remain in the hospital



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for weeks longer than necessary, resulting in unnecessary costs, medical complications, and, in at

least one case, even death.

       277.    In February 2018, a toxoplasmosis patient was ready to be discharged after

several weeks in the hospital. But the hospital was unable to procure Daraprim on an outpatient

basis for the patient. The patient continued to be hospitalized and eventually contracted a severe

hospital infection that proved fatal.

       278.    In another example, a toxoplasmosis patient could not be transferred to a

rehabilitation facility because the facility refused to take on the risk that it might be obligated to

pay Daraprim’s high price. Forced to remain in the hospital, the patient developed medical

complications from the prolonged stay, including multi-drug resistant infections.

       279.    Absent Defendants’ anticompetitive conduct, hospitals and rehabilitation facilities

would have access to lower-cost generic versions of Daraprim.

       280.    Additionally, Defendants’ anticompetitive conduct has the collateral effect of

making it more difficult for some patients to obtain Daraprim from hospitals or pharmacies.

       281.    For example, in November 2018, one patient with lifelong congenital

toxoplasmosis sought to obtain Daraprim for necessary prophylactic outpatient treatment.

Neither she nor a local hospital was able to obtain Daraprim immediately, and pharmacies in the

area lacked supply. The patient was forced to contact Vyera directly and had Daraprim drop-

shipped directly to her residence, where it arrived over two weeks after she first needed it.

       282.    The reduced availability of Daraprim attributable to Vyera’s conduct is ongoing,

as generic entry has not yet occurred.




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       283.    Absent relief, Defendants’ anticompetitive conduct is likely to recur and cause

additional harm to consumers. Defendants have continued to engage in their anticompetitive

conduct despite congressional hearings and Plaintiffs’ investigations.

       284.    Vyera acquired Daraprim for the express purpose of raising its price and

protecting that higher price with an anticompetitive scheme. Vyera is and has been actively

looking for other drugs with a similar profile to Daraprim that it could acquire and execute a

similar strategy to prevent generic competition. Absent relief, Vyera is likely to carry out a

similar anticompetitive scheme with another drug.

       285.    Defendant Shkreli directed Vyera to acquire Daraprim for the express purpose of

raising its price and protecting that higher price with an anticompetitive scheme. Shkreli

previously started another pharmaceutical company, Retrophin, for the purpose of purchasing a

different drug, raising the price, and enacting distribution restrictions to impede generic

competition. Shkreli is and has been actively looking for other drugs with which to replicate this

strategy, either through Vyera or a new company. Absent relief, Shkreli is likely to purchase

another drug and carry out a similar anticompetitive scheme.

       286.    Defendant Mulleady directed, participated in, and carried out the anticompetitive

scheme to protect Vyera’s Daraprim price increase.



                         Absent relief, Mulleady is likely to direct or participate in a similar

anticompetitive scheme with another product.

VIII. Vyera Has Monopoly Power in a Relevant Market for FDA-Approved
      Pyrimethamine Products

       287.    Vyera has exercised and continues to exercise monopoly power in the United

States with respect to Daraprim.


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       288.    Vyera’s monopoly power can be observed directly. In 2015, Vyera raised the

price of Daraprim by more than 4,000%.

                                                                                  After raising

the price 4,000%,



       289.




       290.    Vyera’s monopoly power with respect to Daraprim has persisted for an

appreciable period. Since 2015, Vyera has not lowered its list price and



       291.    Vyera’s monopoly power can also be observed indirectly based on its 100% share

of the relevant market for pyrimethamine products approved by the FDA for sale in the United

States. Vyera has maintained this 100% market share since it purchased Daraprim in 2015.

       292.    The relevant product market is FDA-approved pyrimethamine products.

       293.    Despite Vyera’s 4,000% price increase for Daraprim, most doctors continue to

prescribe Daraprim instead of switching patients to non-pyrimethamine products or non-FDA-

approved pyrimethamine products.

       294.    Non-pyrimethamine pharmaceutical products are not reasonably interchangeable

with pyrimethamine products.

       295.    Pyrimethamine is the “gold standard” treatment for toxoplasmosis. Guidelines

from U.S. government health authorities identify pyrimethamine as “the most effective drug

against toxoplasmosis” and advise other options only when pyrimethamine is “unavailable or



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there is a delay in obtaining it.”



        296.    Non-FDA-approved pyrimethamine products, such as compounded

pyrimethamine, also are not reasonably interchangeable with FDA-approved pyrimethamine

products.

        297.    Most doctors have serious safety concerns about compounded products because

they are not FDA approved. Additionally, federal law imposes significant restrictions on how

compounded pharmaceuticals are sold, and they are thus not available for all patients.

        298.    To the extent that Vyera’s 4,000% price increase caused any doctors to prescribe

a non-pyrimethamine product or a non-FDA approved pyrimethamine product, the change was

due to the extreme nature of the price hike and the increased difficulty of obtaining Daraprim,

not because such products are reasonably interchangeable with Daraprim. Indeed, if these

products were reasonably interchangeable with Daraprim, a sufficient number of doctors would

have switched to them to make the price increase unprofitable because they are orders of

magnitude cheaper than Daraprim.

        299.    Unlike non-pyrimethamine products and non-FDA-approved pyrimethamine

products, generic Daraprim would be reasonably interchangeable with Daraprim.




                                                                                         Thus,

unlike non-pyrimethamine or non-FDA approved pyrimethamine products, generic Daraprim

would constrain the price of branded Daraprim and is thus in the same relevant product market.



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       300.    The lack of an adequate substitute to Daraprim is also confirmed by the fact that

the     largest pharmacy benefit managers (“PBMs”)—which act as third-party administrators

for a health plan’s pharmaceutical benefits—have all continued to include Daraprim on their

formularies. PBMs have independent pharmacy and therapeutics committees that determine

whether a given drug must be included on a formulary to provide adequate medical coverage.

These independent committees for                      PBMs determined that their formularies had

to include Daraprim despite the price increase and notwithstanding the availability of non-

pyrimethamine and compounded pyrimethamine products.

       301.    As then-CEO Ron Tilles explained in January 2016,




       302.    A relevant market consisting of FDA-approved pyrimethamine products can also

be observed through application of the “SSNIP” test. The SSNIP test is a well-recognized and

widely used economic method to define a relevant product market. The objective of this test is to

identify the narrowest set of products for which a hypothetical monopolist could profitably

impose a small but significant and non-transitory increase in price. If enough purchasers would

accept a SSNIP—rather than switch to another product—such that the price increase would be

profitable, then the product set constitutes an antitrust market.

       303.    In the past 10 years, the price of Daraprim has increased substantially at least

twice: approximately 675% in 2011 and approximately 4,000% in August 2015. Each of these

price increases is significantly larger than a SSNIP. In each case, Daraprim retained the majority



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of its sales and yielded significantly increased profits. Thus, a monopolist owning the only FDA-

approved pyrimethamine product has a proven ability to impose a price increase greater than a

SSNIP while retaining enough sales to make the price increase profitable.




       304.    The relevant geographic market is the United States. Pharmaceutical products are

sold and regulated on a nationwide basis. Additionally, because the U.S. market is limited to

FDA-approved products, it can only include products sold inside the United States.

       305.    Substantial barriers to entry exist in the market for FDA-approved pyrimethamine

products. Potential new sellers of pyrimethamine products need to obtain FDA approval, which

can take up to several years. Additionally, Vyera has erected additional barriers to entry by (1)

blocking generic companies from purchasing sufficient Daraprim for FDA-required

bioequivalence testing and (2) blocking generic companies from accessing pyrimethamine API

suppliers necessary to make Daraprim.

                                            COUNT I

                        Monopoly Maintenance Against All Defendants

       306.    Plaintiffs re-allege and incorporate by reference the allegations in paragraphs 1

through 305 above.

       307.    At all relevant times, Vyera and Phoenixus have had monopoly power in the

United States with respect to FDA-approved pyrimethamine products.

       308.    Vyera, Phoenixus, Shkreli, and Mulleady have willfully maintained this

monopoly power through their course of anticompetitive conduct.




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       309.    There is no valid procompetitive justification for Defendants’ exclusionary

conduct in the market for FDA-approved pyrimethamine products.

       310.    Defendants’ anticompetitive acts constitute unlawful monopoly maintenance in

violation of Section 2 of the Sherman Act, 15 U.S.C. § 2, and an unfair method of competition in

violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).

                                            COUNT II

               Agreements in Restraint of Trade (Restrictions and Limitations
                     on Resale of Daraprim) Against All Defendants

       311.    Plaintiffs re-allege and incorporate by reference the allegations in paragraphs 1

through 305 above.

       312.    Defendants’ agreements with distributors,

           barring them from reselling Daraprim to potential generic competitors, which were

conceived, negotiated, signed, and/or enforced by the individual Defendants, are unreasonable

restraints of trade in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1, and unfair

methods of competition in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).

                                           COUNT III

                        Agreements in Restraint of Trade
                                               Against All Defendants

       313.    Plaintiffs re-allege and incorporate by reference the allegations in paragraphs 1

through 305 above.

       314.                                                                                        ,

which were conceived, negotiated, signed, and/or enforced by the individual Defendants, are

unreasonable restraints of trade in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1, and

unfair methods of competition in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).



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                                          COUNT IV

               Anticompetitive Contracts, Agreements and/or Arrangements
              in Violation of New York’s Donnelly Act Against All Defendants

       315.   Plaintiff State of New York re-alleges and incorporates by reference the

allegations in paragraphs 1 through 305 above.

       316.   Defendants’ agreements with distributors,

           barring them from reselling Daraprim to potential generic competitors, which were

conceived, negotiated, signed, and/or enforced by the individual Defendants, constitute

anticompetitive contracts, agreements, and arrangements in violation of New York’s Donnelly

Act, New York General Business Law § 340 et seq.

       317.                                                                                    ,

which were conceived, negotiated, signed, and/or enforced by the individual Defendants,

constitute agreements in restraint of trade in violation of New York’s Donnelly Act, New York

General Business Law § 340 et seq.

       318.   Defendants’ course of conduct as detailed above was done with the purpose of

maintaining a monopoly in FDA-approved pyrimethamine and thus violates New York’s

Donnelly Act, New York General Business Law § 340 et seq.

                                          COUNT V

    Illegality in Violation of New York Executive Law § 63(12) Against All Defendants

       319.   Plaintiff State of New York re-alleges and incorporates by reference the

allegations in paragraphs 1 through 305 above.

       320.   Defendants’ conduct violates § 63(12) of New York’s Executive Law, in that

Defendants engaged in repeated and/or persistent illegal acts—violations of Sections 1 and 2 of




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the Sherman Act and sections 340 et seq of the Donnelly Act—in the carrying on, conducting, or

transaction of business within the meaning and intent of Executive Law § 63(12).

                                         Prayer for Relief

       WHEREFORE, Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), empowers this Court to

issue a permanent injunction against violations of the FTC Act; Section 16 of the Clayton Act,

15 U.S.C. § 26, authorizes this Court to issue a permanent injunction for violations of the

Sherman Act; New York General Business Law § 342 authorizes this Court to issue a permanent

injunction for violations of New York’s Donnelly Act; and New York Executive Law § 63(12)

authorizes this Court to issue a permanent injunction for violation of the aforementioned state

and federal antitrust laws; therefore the FTC and State of New York respectfully request that this

Court, as authorized by statute and its own equitable powers, enter final judgment against

Defendants, declaring, ordering, and adjudging:

       1.      That Defendants’ course of conduct violates Section 2 of the Sherman Act, 15

               U.S.C. § 2;

       2.      That Defendants’ agreements in restraint of trade violate Section 1 of the Sherman

               Act, 15 U.S.C. § 1;

       3.      That Defendants’ course of conduct violates Section 5(a) of the FTC Act, 15

               U.S.C. § 45(a);

       4.      That Defendants’ agreements in restraint of trade violate Section 5(a) of the FTC

               Act, 15 U.S.C. § 45(a);

       5.      That Defendants’ course of conduct violates New York’s Donnelly Act, N.Y.

               GBL § 340 et seq.;

       6.      That Defendants’ course of conduct violates New York’s Executive Law, N.Y. §

               63(12);
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7.    That Defendants are permanently enjoined from continuing their course of

      conduct;

8.    That Defendants are permanently enjoined from engaging in similar and related

      conduct in the future;

9.    That Shkreli and Mulleady are permanently enjoined from owning in part or

      whole or working for a company engaged in the pharmaceutical industry;

10.   That the Court grant such other equitable relief, including equitable monetary

      relief, as the Court finds necessary to redress and prevent recurrence of

      Defendants’ violations of Section 1 of the Sherman Act, Section 2 of the Sherman

      Act, and Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), as alleged herein;

11.   That the Court grant such other equitable relief, including equitable monetary

      relief, as the Court finds necessary to redress and prevent recurrence of

      Defendants’ violations of New York’s Donnelly Act and New York Executive

      Law § 63(12); and

12.   That all Defendants pay Plaintiff State of New York civil penalties for their

      violations of the asserted state and/or federal antitrust laws, as authorized by law,

      N.Y. GBL § 341.




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Dated: January 27, 2020                  Respectfully submitted,




IAN R. CONNER (D.C. Bar No. 979696)      Markus H. MEIER (D.C. Bar No. 459715)
Director                                        (admitted pro hac vice)
Bureau of Competition                    Federal Trade Commission
                                         600 Pennsylvania Avenue, N.W.
GAIL F. LEVINE (D.C. Bar No. 454727)     (202) 326-3759
Deputy Director                          mmeier@ftc.gov
Bureau of Competition
                                         BRADLEY S. ALBERT (Md. Bar)
ALDEN ABBOTT                             J. MAREN SCHMIDT (D.C. Bar No. 975383)
General Counsel                          DANIEL w. BUTRYMOWICZ (N.Y. Bar)
                                         NEAL J. PERLMAN (N.Y. Bar)
                                         D. PATRICK HUYETT (Pa. Bar No. 319668)
                                                (admitted pro hac vice)
                                         JAMES H. WEINGARTEN (S.D.N.Y. JW1979)
                                         Attorneys for Plaintiff
                                         Federal Trade Commission
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